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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

      In re:                                        §
                                                    §
      TIMEKEEPERS INC.                              §         CASE NO. 24-51101-mmp
                                                    §                       (Chapter 11)
      Debtor                                        §


          DEBTOR’S SECOND EMERGENCY APPLICATION FOR AUTHORIZATION
                           TO USE CASH COLLATERAL

      TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

             NOW COMES, Timekeepers Inc., Debtor-in-Possession in the above styled and
      numbered Chapter 11 bankruptcy case, and files this Emergency Application for
      Authorization to Use Cash Collateral, and in support thereof would respectfully show the
      Court the following:

             1. On June 11, 2024, Timekeepers Inc. (hereinafter called "Debtor") filed its
      voluntary Petition for Relief under Chapter 11 of the United States Bankruptcy Code in
      the United States Bankruptcy Court for the Western District of Texas, San Antonio
      Division.

              2. At the time of the Debtor's bankruptcy filing, the Debtor had several creditors
      which held a security interest in Debtor’s cash collateral. More specifically, the following
      creditors (the “Cash Collateral Creditors”) listed in the order of priority have a blanket
      security interest in all of Debtor’s assets including but not limited to cash and account
      receivables:

               a. Advanced Business Capital Inc. d/b/a Far West Capital (amount owed:
                  $29,200.00)1
               b. U.S. Small business Administration (amount owed: $1,879,513.00)
               c. Fundi Merchant Funding (amount owed: $162,500.00)
               d. NewCo Capital Group VI LLC (amount owed: $265,180.00)
               e. Cloudfund LLC (amount owed: ($121,420.00)
               f. E Advance Services (amount owed: $178,700.00)
               g. Advance Servicing Inc.(amount owed $60,025.00)

             3. At the time of the Debtor's bankruptcy filing, the balance of Debtor’s bank
      account was approximately $0.00. The balance of the Debtor's accounts receivable is


      1
       Far West Capital is holding a approximately $208,000 of Debtor’s money in a Reserve Account. As such,
      Far West Capital is over secured.
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      $758,939.00. Debtor has been able to liquidate the majority of those receivables and
      holds approximately $307,992.000 in its Debtor-in-Possession bank account.

             4. The receivables were generated by the efforts of certain former employees and
      independent contractors. A list of those individuals is attached to this Motion as Exhibit
      “A”. Debtor seeks authority to use the cash collateral to pay these former employees and
      independent contractors. The Debtor would show that the U.S. Small Business
      Administration has agreed to the use of its cash collateral to pay these individuals.

              5. The Debtor seeks authority under 11 U.S.C. §363(c)(2)(B) to use the cash
      collateral of the Cash Collateral Creditors to pay the former employees and independent
      contractors that generated the account receivables for the Debtor. The Debtor has
      insufficient other unencumbered cash resources, and has been unable to obtain sufficient
      post-petition credit to administer its business other than pursuant to §363 of the
      Bankruptcy Code.


             WHEREFORE, PREMISES CONSIDERED, Timekeepers Inc. requests that the
      Court authorize it to use the cash collateral of the Cash Collateral Creditors upon the
      terms and conditions set forth herein, and for such other and further relief to which
      Debtor may show itself entitled.
                                          Respectfully submitted,

                                            Villa & White LLP

                                            By: __/s/ Morris E. “Trey” White III___________
                                            Morris E. “Trey” White III
                                            State Bar No. 24003162
                                            100 NE Loop 410 #615
                                            San Antonio, Texas 78216
                                            (210) 225-4500 Telephone
                                            (210) 212-4649 Fax
                                            ATTORNEY FOR DEBTOR


                                  CERTIFICATE OF SERVICE

             I hereby certify that on September 17, 2024, a true and correct copy of the above
      and foregoing document was served on the parties listed on the attached creditor’s matrix
      pursuant to Bankruptcy Rule 9013.

              Additionally, I sent a copy of the foregoing to the following parties who have yet
      to enter an appearance in this case:

              E Advance Services LLC (admin@eadvanceservices.com)
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             FundFi Merchant Funding, LLC to (Mitchell Levy (Director – Legal Affairs)
      mitchell@fundfimerchantfunding.com

           Mr. Steven Berkovitch, counsel for NewCo Capital Group VI LLC at
      ucc@bblawpllc.com


                                       __/s/ Morris E. “Trey” White III___________
                                       Morris E. “Trey” White III
